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18                             UNITED STATES DISTRICT COURT
19                            NORTHERN DISTRICT OF CALIFORNIA
20                                 SAN FRANCISCO DIVISION
21

22 IN RE GOOGLE PLAY STORE
   ANTITRUST LITIGATION,                           Case No. 3:21-md-02981-JD
23
   THIS DOCUMENT RELATES TO:
24                                                 [PROPOSED] ORDER RE: GOOGLE’S
   Epic Games, Inc. v. Google LLC et al.,          ADMINISTRATIVE MOTION TO
25 Case No. 3:20-cv-05671-JD                       CONSIDER WHETHER ANOTHER
                                                   PARTY’S MATERIAL SHOULD BE
26 Match Group, LLC et al. v. Google LLC et al.,   SEALED
   Case No. 3:22-cv-02746-JD
27
                                                   Judge:   Hon. James Donato
28

                                                                    Case No. 3:21-md-02981-JD
           [PROPOSED] ORDER RE: GOOGLE’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
       Case 3:20-cv-05671-JD Document 322-1 Filed 10/21/22 Page 2 of 2




 1         Having considered Google Defendants’ (“Google’s”) Administrative Motion to Consider

 2 Whether Another Party’s Material Should be Sealed, relating to Defendants’ Opposition to Epic’s

 3 and Match’s Motion to Amend Complaints, and any materials in support of the opposition,

 4 pursuant to Local Rules 7-11 and 79-5;

 5         IT IS HEREBY ORDERED:
 6         The following portions of Google’s Opposition and supporting documents may be filed

 7 under seal:

 8         Portion containing confidential       Designating Party or
                                                                                  Ruling
                    information                      Third-Party
 9
        Opp. Page 7, lines 20-23 (between     Activision Blizzard, Inc.
10      start of sentence and “and Google
        employee”; between “testified that
11      Google and” and “never entered”;
        between “an agreement that” and
12
        “would not open”; between “Ex. D (”
13      and “Dep.”)
        Exh. A to Pomerantz Decl.             State Plaintiffs
14
        Exh. D to Pomerantz Decl.             Activision Blizzard, Inc.
15

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17 Dated: ____________, 2022

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19
                                                Honorable James Donato
20                                              United States District Judge
                                                Northern District of California
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                                             -1-                    Case No. 3:21-md-02981-JD
           [PROPOSED] ORDER RE: GOOGLE’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
